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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                     §
In re:                                               §
                                                     §    Jointly Administered
DAY ONE DISTRIBUTION LLC, et al.                     §
                                                     §    Under Case No. (24-31133-11)
                                   Debtors. 1        §        (Subchapter V)


              GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
          METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTOR’S
           SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS
                          OF FINANCIAL AFFAIRS

        DAY ONE DISTRIBUTION, LLC (“DOD Debtor”) and ZERO DAY NUTRITION
  COMPANY f/k/a GB NUTRITION COMPANY (“ZD Debtor”) (collectively “Debtors”)
  in the above-captioned jointly administered chapter 11 cases have each filed Schedules of
  Assets and Liabilities (collectively the “Schedules”) and Statements of Financial Affairs
  (collectively the “Statements”) in the United States Bankruptcy Court for the Southern
  District of Texas (the “Court”). The Debtors, with the assistance of legal and financial
  advisors, prepared the Schedules and Statements in accordance with section 521 of chapter
  11 of title 11 of the United States Code (the “Bankruptcy Code”) and rule 1007 of the Federal
  Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
  Regarding the Debtor’s Schedules and Statements of Financial Affairs (the “Global Notes”)
  are incorporated by reference and comprise an integral part of the Debtors’ respective
  Schedules and Statements and should be referred to and considered in connection with any
  review of the Schedules and Statements.

         While the Debtors have made reasonable efforts to ensure that the Schedules and
  Statements are accurate and complete based on information which was available at the time
  of preparation, the subsequent receipt or discovery of information and/or further review and
  analysis of the Debtors’ books and records may result in material changes to financial data
  and other information contained in these Schedules and Statements, and inadvertent errors or
  omissions may exist.

          The Schedules and Statements do not purport to represent financial statements
  prepared in accordance with Generally Accepted Accounting Principles in the United States
  (“GAAP”). Additionally, the Schedules and Statements contain unaudited information that is
  subject to further review and potential adjustment and reflect each of the Debtor’s reasonable
  efforts to report the assets and liabilities of each of the Debtors.




Global Notes & Disclaimers
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          Nothing contained in the Schedules and Statements shall constitute a waiver of rights
  or judicial admission with respect to each Debtor’s chapter 11 case including, but not limited
  to, any issues involving pending litigation by or against the respective Debtor, or any
  employees, officers, directors, agents, affiliates or insiders of the Debtors, objections to
  claims, equitable subordination, defenses, characterization or recharacterization of contracts,
  and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code or
  any other relevant applicable laws to recover assets or avoid transfers.

           The Debtors and each of its officers, employees, agents, attorneys, and consultants do
  not guarantee or warrant the accuracy or completeness of the data that is provided in the
  Schedules and Statements and shall not be liable for any loss or injury arising out of or caused
  in whole or in part by the acts, omissions, whether negligent or otherwise, in procuring,
  compiling, collecting, interpreting, reporting, communicating or delivering the information
  contained in the Schedules and Statements. Except as expressly required by the Bankruptcy
  Code, the Debtors and each of its officers, employees, agents, attorneys, and consultants
  expressly do not undertake any obligation to update, modify, revise, or re-categorize the
  information provided in the Schedules and Statements or to notify any third party should the
  information be updated, modified, revised, or re-categorized. Each of the Debtors, on behalf
  of itself, their officers, employees, agents and advisors disclaim any liability to any third party
  arising out of or related to the information contained in the Schedules and Statements and
  reserve all rights with respect thereto.

          In reviewing and signing the Schedules and Statements, the Debtors’ representative
  relied upon the efforts, statements and representations of each Debtor’s other personnel and
  professionals. The representative has not (and could not have) personally verified the
  accuracy of each such statement and representation, including, for example, statements and
  representations concerning amounts owed to creditors and their addresses.

         The Global Notes are in addition to any specific notes contained in the Schedules or
  Statements. The Schedules and Statements and Global Notes should not be relied upon by
  any persons for information relating to current or future financial conditions, events, or
  performance of the Debtors.


                             Global Notes and Overview of Methodology

 1.         Description of Cases. On March 14, 2024, (the “Petition Date”), DOD Debtor filed a
            voluntary petition for relief under Subchapter V of Chapter 11 of the Bankruptcy
            Code under Case No. 24-31133 and ZD Debtor filed a voluntary petition for relief under
            Subchapter V of Chapter 11 of the Bankruptcy Code under Case No. 24-31134. On
            March 14, 2024, the Court entered an order authorizing joint administration of these
            cases (Docket No. 6).

 2.         Global Notes Control. These Global Notes pertain to and comprise an integral part
            of each of the Schedules and Statements and should be referenced in connection
            with any review thereof. In the event that the Schedules and Statements conflict with
            these Global Notes, these Global Notes shall control.
Global Notes & Disclaimers
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 3.         Reservations and Limitations. Since mid-summer 2023, the Debtors effectively been
            without a CFO or any senior accounting staff to maintain the books and records. As of
            the Petition Date, the books and records of each Debtor were not fully reconciled and
            contained inconsistencies. Shortly before the bankruptcy, the Debtors engaged a
            financial advisor, who has been engaged in the bankruptcy cases, to assist with
            reconciling and correcting the books and records.            The financial advisor and
            management have used their best efforts to ascertain the information required to
            complete the Schedules and Statements. However, certain inconsistencies in the books
            and records have been discovered which could impact the information provided.
            Commercially reasonable efforts have been made to prepare and file complete and
            accurate Schedules and Statements; however, as noted above, inaccuracies,
            inadvertent errors or omissions may exist. The Debtors reserve all rights to amend and
            supplement the Schedules and Statements as may be necessary or appropriate. Nothing
            contained in the Schedules and Statements constitutes a waiver of any of the Debtors’
            rights or an admission of any kind with respect to either of these chapter 11cases,
            including, but not limited to, any rights or claims of either of the Debtor’s against any
            third party or defenses or causes of action arising under the provisions of chapter 5 of
            the Bankruptcy Code or any other relevant applicable bankruptcy or non-bankruptcy
            laws to recover assets or avoid transfers. Any specific reservation of rights contained
            elsewhere in the Global Notes does not limit in any respect the general reservation of
            rights contained in this paragraph.

      (a)        No Admission. Nothing contained in the Schedules and Statements is intended or
                 should be construed as an admission or stipulation of the validity of any claim
                 against either Debtor, any assertion made therein or herein, or a waiver of either
                 Debtor’s rights to dispute any claim or assert any cause of action or defense against
                 any party.

      (b)        Recharacterization. Notwithstanding that the Debtors have made commercially
                 reasonable efforts to correctly characterize, classify, categorize, or designate certain
                 claims, assets, executory contracts, unexpired leases, and other items reported in
                 the Schedules and Statements, the Debtors nonetheless may have improperly
                 characterized, classified, categorized, or designated certain items. The Debtors
                 reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
                 reported in the Schedules and Statements at a later time as is necessary and
                 appropriate.

      (c)        Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                 Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                 “executory” or “unexpired” does not constitute an admission by either Debtor of the
                 legal rights of the claimant or contract counterparty, or a waiver of either
                 Debtor’s rights to recharacterize or reclassify such claim or contract.


      (d)        Claims Description. Any failure to designate a claim on either Debtor’s Schedules
                 and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute
                 an admission by the respective Debtor that such amount is not “disputed,”
                 “contingent,” or “unliquidated.” Debtors reserve all rights to dispute, or assert
Global Notes & Disclaimers
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                 offsets or defenses to, any claim reflected on its respective Schedules and
                 Statements on any grounds, including, without limitation, liability or
                 classification, or to otherwise subsequently designate such claims as “disputed,”
                 “contingent,” or “unliquidated” or object to the extent, validity, enforceability,
                 priority of any claim. Moreover, listing a claim does not constitute an admission
                 of liability by either Debtor against which the claim is listed or by any of the
                 Debtors. The Debtors reserve all rights to amend their respective Schedules and
                 Statements as necessary and appropriate, including, but not limited to, with respect
                 to claim description and designation.

      (e)        Estimates and Assumptions. The preparation of the Schedules and Statements
                 required the Debtors to each make reasonable estimates and assumptions with
                 respect to the reported amounts of assets and liabilities, the amount of contingent
                 assets and contingent liabilities on the date of the Schedules and Statements, and
                 the reported amounts of revenues and expenses during the applicable reporting
                 periods. Actual results could differ from such estimates.

      (f)        Causes of Action. Despite commercially reasonable efforts, the Debtors may not
                 have identified all current and potential causes of action the Debtors may have
                 against third parties in their respective Schedules and Statements, including,
                 without limitation, avoidance actions arising under chapter 5 of the Bankruptcy
                 Code and actions under other relevant bankruptcy and non-bankruptcy laws to
                 recover assets. The Debtors reserve all rights with respect to any causes of action,
                 and nothing in these Global Notes or the Schedules and Statements should be
                 construed as a waiver of any such causes of action.

      (g)        Intellectual Property Rights. Exclusion of certain intellectual property from the
                 Schedules and Statements should not be construed as an admission that such
                 intellectual property rights have been abandoned, have been terminated or
                 otherwise expired by their terms, or have been assigned or otherwise transferred
                 pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
                 intellectual property rights in the Schedules and Statements should not be construed
                 as an admission that such intellectual property rights have not been abandoned,
                 have not been terminated or otherwise expired by their terms, or have not been
                 assigned or otherwise transferred pursuant to a sale, acquisition, or other
                 transaction.

      (h)        Insiders. In the circumstance where the Schedules and Statements require
                 information regarding “insiders,” each Debtor has included information with
                 respect to certain individuals who served as officers and directors, as the case may
                 be, during the relevant time periods. Such individuals may no longer serve in such
                 capacities.

                 The listing or omission of a party as an insider for purposes of the Schedules and
                 Statements is not intended to be, nor should it be, construed as an admission of any
                 fact, right, claim, or defense and all such rights, claims, and defenses are hereby
                 expressly reserved. Information regarding the individuals listed as insiders in the
                 Schedules and Statements has been included for informational purposes only and
                 such information may not be used for: (i) the purposes of determining (A) control
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                 of the Debtors; (B) the extent to which any individual exercised management
                 responsibilities or functions; (C) corporate decision-making authority over the
                 Debtors; or (D) whether such individual could successfully argue that he is not an
                 insider under applicable law, including the Bankruptcy Code and federal securities
                 laws, or with respect to any theories of liability or (ii) any other purpose.

 4.         Methodology.

      (a)        Basis of Presentation. The Schedules and Statements do not purport to represent
                 financial statements prepared in accordance with Generally Accepted Accounting
                 Principles in the United States (“GAAP”) nor are they intended to be fully
                 reconciled to the financial statements of each Debtor. The Schedules and
                 Statements contain unaudited information that is subject to further review and
                 potential adjustment. The Schedules and Statements reflect each Debtor’s
                 commercially reasonable efforts to report the assets and liabilities of the
                 respective Debtor.

      (b)        Confidential Information. There may be instances in the Schedules and
                 Statements where the Debtors deemed it necessary and appropriate to redact from
                 the public record information such as names, addresses, or amounts. Generally, the
                 Debtors haves used this approach because of a confidentiality agreement between
                 the respective Debtor and a third party, for the protection of sensitive commercial
                 information, or for the privacy of an individual.

      (c)        Duplication. Certain of each Debtor’s assets, liabilities, and prepetition payments
                 may properly be disclosed in multiple parts of the Statements and Schedules. To
                 the extent these disclosures would be duplicative, the Debtors have endeavored to
                 only list such assets, liabilities, and prepetition payments once.

      (d)        Net Book Value. In certain instances, current market valuations for individual
                 items of property and other assets are neither maintained by, nor readily available
                 to each Debtor. Accordingly, unless otherwise indicated, each Debtor’s Schedules
                 and Statements reflect net book values. Also, assets that have been fully depreciated
                 or that were expensed for accounting purposes either do not appear in these
                 Schedules and Statements, or are listed with a zero-dollar value, as such assets
                 have no net book value. The omission of an asset from the Schedules and
                 Statements does not constitute a representation regarding the ownership of such
                 asset, and any such omission does not constitute a waiver of any rights of each
                 Debtor’s with respect to such asset.

      (e)        Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
                 or “undetermined” is not intended to reflect upon the materiality of such amount.

      (f)        Unliquidated Amounts. Amounts that could not be fairly quantified by each
                 Debtor are scheduled as “unliquidated.

      (g)        Totals. All totals that are included in the Schedules and Statements represent totals
                 of all known amounts. To the extent there are unknown or undetermined amounts,
                 the actual total may be different from the listed total.
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      (h)        Property and Equipment. Unless otherwise indicated, owned property and
                 equipment are valued at net book value. The Debtors may each lease furniture,
                 fixtures, and equipment from certain third-party lessors. To the extent possible,
                 any such leases are listed in the Schedules and Statements. Nothing in the
                 Schedules and Statements is, or should be construed as, an admission as to the
                 determination of the legal status of any lease (including whether any lease is a
                 true lease or a financing arrangement), and each Debtor reserves all rights with
                 respect thereto.

      (i)        Allocation of Liabilities. Each Debtor’s allocated liabilities between the prepetition
                 and postpetition periods based on the information and research conducted in
                 connection with the preparation of the Schedules and Statements. As additional
                 information becomes available and further research is conducted, the allocation of
                 liabilities between the prepetition and postpetition periods may change.

      (j)        Credits and Adjustments. The claims of individual creditors for, among other
                 things, goods, products, services, or taxes are listed as the amounts entered on each
                 Debtor’s books and records and may either (i) not reflect credits, allowances, or
                 other adjustments due from such creditors to the respective Debtor or (ii) be net of
                 accrued credits, allowances, or other adjustments that are actually owed by a
                 creditor to the respective Debtor on a postpetition basis on account of such credits,
                 allowances, or other adjustments earned from prepetition payments and critical
                 vendor payments, if applicable. Each Debtor reserves all of its rights with regard to
                 such credits, allowances, or other adjustments, including, but not limited to, the
                 right to modify the Schedules.

      (k)        Guarantees and Indemnification Claims. The Debtors have exercised
                 commercially reasonable efforts to locate and identify guarantees of their executory
                 contracts, unexpired leases, secured financings, and other such agreements. Where
                 guarantees or indemnification claims have been identified, they have been included
                 in Schedules E/F, G and H. The Debtors may have inadvertently omitted
                 guarantees or indemnifications embedded in their contractual agreements and may
                 identify additional guarantees or indemnifications as it continues to review its books
                 and records and contractual agreements. Each Debtor reserves its rights, but is not
                 required, to amend the Schedules and Statements if additional guarantees are
                 identified.

      (l)        Excluded Assets and Liabilities. Each Debtor has excluded certain categories of
                 assets and liabilities from the Schedules and Statements, including, but not limited
                 to: certain deferred charges, accounts, or reserves recorded only for purposes of
                 complying with the requirements of GAAP; deferred tax assets and liabilities;
                 goodwill and other intangibles; deferred revenue accounts; and certain accrued
                 liabilities including, but not limited to, accrued salaries and employee benefits.
                 Other immaterial assets and liabilities may also have been excluded.

      (m)        Liens. The inventories, property, and equipment listed in the Schedules and
                 Statements are presented without consideration of any liens.

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      (n)         Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.


 5.         Specific Disclosures for Schedules of Assets and Liabilities.

            (a)       Schedules Summary. Except as otherwise noted, the asset totals represent
                      amounts as of March 14, 2024 and liability information provided herein
                      represents each Debtor’s liabilities as of the Petition Date.

            (b)       Schedule B -Personal Property. Certain personal property of each Debtor
                      could arguably be listed in response to more than one Schedule B question.
                      In such cases, each Debtor has endeavored to list such property once in the
                      most appropriate category. Each Debtor’s accounts receivable reflects
                      estimated doubtful collections due to anticipated setoff’s related to
                      promotion and marketing credits and returns from vendors, including
                      substantially all of the $166,368 in doubtful collections for DO Debtor
                      which are estimated credits for GNC. The doubtful accounts for ZD Debtor
                      are substantially intercompany debt which is likely not collectible.
                      Fz4Additionally, the A/R over 90 days for DO Debtor is classified in
                      Debtor’s books and records as A/R but is essentially consigned goods
                      through Amazon which have not yet been sold. As the goods are sold, the
                      A/R balance is reduced. Notwithstanding the foregoing, the Debtors are
                      unable to determine with certainty how much of the accounts receivable
                      will be collected. Office furniture and office equipment have been listed at
                      net book value, which is net of accumulated depreciation.

                      In the ordinary course of its business, the Debtors may each have accrued
                      certain rights to counterclaims, cross-claims, setoffs, credits, rebates, or refunds
                      with their customers and suppliers, or potential warranty claims against their
                      suppliers. Additionally, certain of the Debtors may be party to pending litigation
                      in which such Debtor has asserted, or may assert, claims as a plaintiff or
                      counterclaims and/or crossclaims as a defendant. Because such claims are
                      unknown to the affected Debtor and not quantifiable as of the Petition Date,
                      they are not listed on Schedule A/B, Part 11.

            (c)       Schedule D - Creditors Holding Secured Claims. The listing of a claim in
                      Schedule D does not constitute an admission by each of the Debtors that
                      such claim is entitled to secured treatment under the Bankruptcy Code and
                      does not constitute a waiver of any right to recharacterize or reclassify such
                      claim. The Debtors each reserves the right to dispute the nature, validity
                      and amount of each of these claims and listing of the same in Schedule D
                      shall not be deemed a waiver of any objections of causes of action.

            (d)       Schedule E - Creditors Holding Unsecured Priority Claims. The listing of a
                      claim on Schedule E does not constitute an admission by each Debtor that
                      such claim is entitled to priority treatment under section 507 of the
                      Bankruptcy Code and does not constitute a waiver of any right to
                      recharacterize or reclassify such claim.
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            (e)       Schedule F - Creditors Holding Unsecured Nonpriority Claims. The claims
                      listed on Schedule F arose or were incurred on various dates. In certain
                      instances, the date on which a claim arose is an open issue of fact. While
                      best efforts have been made, the determination of each date upon which
                      each claim on Schedule F was incurred or arose would be unduly
                      burdensome and cost prohibitive and, therefore, each Debtor does not list a
                      date for each claim listed on Schedule F.

                      Schedule F permits each Debtor to designate a claim as disputed, contingent
                      and/or unliquidated. A failure to designate a claim on Schedule F as
                      disputed, contingent and/or unliquidated does not constitute an admission
                      that such claim is not subject to objection. Each Debtor reserves the right to
                      dispute, or assert offsets or defenses to, any claim reflected on Schedule F
                      as to amount, liability or status.

            (f)       Schedule G - Executory Contract and Unexpired Leases. While every effort
                      has been made to ensure the accuracy of the Schedule of Executory
                      Contracts and Unexpired Leases, inadvertent errors or omissions may have
                      occurred. The contracts, agreements and leases listed on Schedule G may
                      have expired or may have been modified, amended, or supplemented from
                      time to time by various amendments, restatements, waivers, estoppel
                      certificates, letters and other documents, instruments and agreements which
                      may not be listed therein. Certain of the executory agreements may not have
                      been memorialized and could be subject to dispute. The presence of a
                      contract or agreement on Schedule G does not constitute an admission that
                      such contract or agreement is an executory contract or unexpired lease or is
                      enforceable. Certain contracts with former insiders of the Debtors are listed
                      on Schedule G which are disputed.

            (g)       Schedule H - Codebtors. In the event of any co-obligors with respect to a
                      scheduled debt or guaranty of any Debtor, such co-obligator is listed on
                      Schedule H of such Debtor, with a cross-reference to any other relevant
                      Schedule of such Debtor listing such debt or guaranty.

 6.         Statement of Financial Affairs.

         Various Statements. Certain questions in the Statements request each Debtor to
provide information for a certain time period prior to the Petition Date. Unless otherwise
noted herein or elsewhere in the Statements, information provided by the Debtor is through
the Petition Date.

            (a)       Statement 3 - Payments to Creditors. Each Debtor has been able to compile
                      information relating to payments in the 90-day period prior to the Petition
                      Date. The failure to list any such payments does not constitute an admission
                      that no such payments exist but are simply unavailable at this time.

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            (b)       Statement 4, 13, 30 – Payments/Transfers/Distributions. Each Debtor has
                      been able to compile information relating to payments within one year and
                      two-year period prior to the Petition Date. The failure to list any such
                      payments does not constitute an admission that no such payments exist but
                      are simply unavailable at this time.

            (c)       Statement 7 – Legal Actions or Assignments. Each Debtor has listed all
                      known lawsuits that have been filed. Each Debtor reserves the right to
                      supplement should any other litigation be pending but has not been learned
                      through the respective Debtor’s efforts to research any existing litigation. The
                      Debtors have not included workers’ compensation claims in response to this
                      question.



                  THE DEBTORS EACH RESERVE THE RIGHT TO AMEND THE
                  SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS. THE
                  DEBTORS DO NOT WAIVE ANY ISSUE OF FACT, REMEDY, CLAIM, OR
                  DEFENSE PERTAINING TO ANY MATTER ADDRESSED HEREIN.

                                    *       *      *       *      *




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Fill in this information to identify the case:

Debtor name         Day One Distribution LLC

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)     24-31133
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration     Amended List of 20 Largest Creditors

      I declare under penalty of perjury that the foregoing is true and correct.
                                                                Michael Bischoff with permission by /s/ Melissa A. Haselden
       Executed on       April 11, 2024                  X
                                                             Signature of individual signing on behalf of debtor

                                                             Michael Bischoff
                                                             Printed name

                                                             CEO of Zero Day Nutrition Company, Managing Member
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:
Debtor name Day One Distribution LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                      Check if this is an

Case number (if known):        24-31133                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
AFCO Credit / USI                                                                                                                                                 $7,356.09
900 S Capital of
Teaxas Highway
Suite 450
Austin, TX 78746
American Express                                                                                                                                                $44,669.44
PO Box 981537
El Paso, TX 79998
BMW Financial                                                                                                                                                     $8,152.75
PO Box 78103
Phoenix, AZ
85062-8103
Consolidated Label                                                                                                                                              $23,881.67
Co
2001 E. Lake Mary
Blvd.
Sanford, FL 32773
Container and                                       Containers                Disputed                                                                            $8,356.33
Packaging
1345 E State Street
Eagle
Eagle, ID 83616
Foley & Lardner LLP                                                                                                                                             $50,257.00
1000 Louisiana
Street
Suite 2000
Houston, TX 77002
High Impact                                                                                                                                                     $20,000.00
Analytics
5208 Village
Parkway #1
Rogers, AR 72758
Kintsugi Digital                                                                                                                                                  $9,051.78
5049 Edwards
Ranch Road
Floor 4
Fort Worth, TX
76109

Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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Debtor     Day One Distribution LLC                                                                 Case number (if known)         24-31133
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Lisa Marks                                                                    Contingent                                                                        $57,000.00
Association Inc.
(PEZ)
181 Westchester
Ave
Suite 304-H
Port Chester, NY
10573
Melton & Melton                                                                                                                                                   $4,655.00
LLP
6002 Rogerdale
Road
Suite 200
Houston, TX 77072
Mill Haven Foods                                                                                                                                                $81,639.14
211 Leer Street
New Lisbon, WI
53950-0132
Nexus Brand Group                                                                                                                                               $18,281.02
721 N. Eckhoff St.
Orange, CA 92868
Price Plow                                                                                                                                                        $2,000.00
100 Comms Road
Suite 7 #199
Dripping Springs,
TX 78620
Priority 1 Inc.                                                                                                                                                 $15,550.04
10100 North Central
Expressway
Suite 380
Dallas, TX 75231
Scott William                                                                                                                                                     $5,000.00
Crawford
315 Canyon Springs
Dr.
Allen, TX 75002
Smartshake AB                                                                                                                                                   $10,542.14
J rnmalmsgatan 2,
721 32
V ster s, Sweden
St. Denis                                                                                                                                                         $5,838.39
Companies
2452 W. Birchwood
Ave.
Suite 114
Mesa, AZ 85202




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                       Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 13 of 53



Debtor     Day One Distribution LLC                                                                 Case number (if known)         24-31133
           Name

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Veracity Insurance                                                                                                                                              $29,878.50
Solutions LLC
260 South 2500
West
Suite 303
Pleasant Grove, UT
84062
Waste Management                                                                                                                                                  $2,477.49
800 Capitol Street
Suite 3000
Houston, TX 77002
Worldwide Express                                                                                                                                               $42,183.96
2700 Commerce
Street
Suite 1500
Dallas, TX 75226




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
                            Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 14 of 53

 Fill in this information to identify the case:

 Debtor name            Day One Distribution LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               24-31133
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $         899,194.39

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $         899,194.39


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       1,401,201.46


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$         792,414.56


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          2,193,616.02




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                       Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 15 of 53

Fill in this information to identify the case:

Debtor name          Day One Distribution LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)        24-31133
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Amegy Bank of Texas                               Checking                              3741                                        $148.17




           3.2.     Ampla                                             Checking                              1500                                           $0.86



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                       $149.03
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
                    Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 16 of 53

Debtor       Day One Distribution LLC                                                       Case number (If known) 24-31133
             Name


          11a. 90 days old or less:                  225,592.50        -                           166,368.00 = ....                    $59,224.50
                                      face amount                             doubtful or uncollectible accounts




          11b. Over 90 days old:                     186,477.70        -                                  0.00 =....                   $186,477.70
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                         $245,702.20
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Finished product and
          raw materials.                                                           $567,718.18                                         $567,718.18



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                         $567,718.18
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                 30,018.00 Valuation method                                    Current Value          30,018.00

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 2
                    Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 17 of 53

Debtor       Day One Distribution LLC                                                       Case number (If known) 24-31133
             Name




Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          Office Furniture, see Exhibit "Part 7 #39"                                 $4,535.95                                           $4,535.95



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office Marketing Equipment, see Exhibit "Part
          7 #41"                                                                   $10,700.23                                           $10,700.23



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $15,236.18
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2023 BMW 760xi, VIN #8227                                        $58,436.17                                           $58,436.17



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
                                      Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 18 of 53


           Type         Date          Num      Name      Memo        Class        Clr        Split       Debit        Credit    Balance
16200 · Furniture                                                                                                                             0
           Credit Card Charge
                            1/23/2022          Best Buy Samsung Refrigerator RS27T5200SG/AA  AMEX27.4
                                                                                                   CORP CuFt
                                                                                                          - 11845.62
                                                                                                              MERKEL
                                                                                                              Serial No:61015
                                                                                                                         0B2B4BARC02823E1845.62
           Bill           10/19/2022 1NTV-K9Q3-QK19
                                               Amazon Business                               20100- ·Amy's
                                                         55in Large Electric Height Standing Desk     Accounts
                                                                                                           desk Payable
                                                                                                              300.79                    2146.41
           Bill           11/26/2022 199L-NPPP-V3VG
                                               Amazon Business
                                                         computer chair for Robert           20100 · Accounts   Payable
                                                                                                              206.66                    2353.07
           Bill             12/4/2022 1RVQ-6D1K-RKWY
                                               Amazon Business                               20100
                                                         55in. Large Electric adjustable standing   · Accounts
                                                                                                  desk; Hanan's Payable
                                                                                                              247.75
                                                                                                                 office                 2600.82
           Bill              4/1/2023 1CJV-JQMV-HJ4W     LG UltraFine UHD 27-Inch Computer20100
                                               Amazon Business                                      · Accounts
                                                                                               Monitor          Payable
                                                                                                       27UN850-W,
                                                                                                              400.51  IPS               3001.33
           Bill              4/1/2023 1RRN-JHWM-73Y3
                                               Amazon Business                               20100  · Accounts
                                                         SHW 55-Inch Large Electric Height Adjustable Standing  Payable
                                                                                                              591.98
                                                                                                                  Desk, 55 x            3593.31
           Bill           11/15/2023 20231115 Ben Arden (vendor)
                                                         work computer                       20100 · Accounts   Payable
                                                                                                              942.64                    4535.95
Total 16200 · Furniture                                                                                      4535.95          0         4535.95
TOTAL                                                                                                     4535.95           0   $ 4,535.95




                                                                         EXHIBIT

                                                                         Part 7 #39
                                     Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 19 of 53


           Type        Date           Num      Name        Memo      Class       Clr     Split     Debit       Credit      Balance
16100 · Machinery and Equpment                                                                                                              0
           Credit Card Charge3/2/2022          CLX GAMING  Brandons
                                                             DIYPC Work Computer         AMEX CORP - 11239.95
                                                                                                       MERKEL 61015                   1239.95
           Credit Card Charge
                            10/3/2022   968.82 Best Buy Tablet for Sam                   AMEX CORP - 5 968.82
                                                                                                       BISCHOFF 61064                 2208.77
           Credit Card Charge
                           10/18/2022          B & H PhotoComputer
                                                           Video    for marketing team   AMEX CORP - 51352.37
                                                                                                       BISCHOFF 61064                 3561.14
           Credit Card Charge
                           10/25/2022          Apple Store Computer for marketing team   AMEX CORP - 51730.92
                                                                                                       BISCHOFF 61064                 5292.06
           Credit Card Credit
                           10/28/2022   968.82 Best Buy Tablet for Sam                   AMEX CORP - 5 BISCHOFF 61064
                                                                                                                  968.82              4323.24
           Credit Card Charge
                           10/28/2022   968.82 Best Buy Tablet for Sam                   AMEX CORP - 2 968.82
                                                                                                       STRANGE 62021                  5292.06
           Bill            11/22/2022          B&H CameraCamera for Marketing            20100 · Accounts Payable
                                                                                                      5408.17                        10700.23
Total 16100 · Machinery and Equpment                                                                 11669.05     968.82             10700.23
TOTAL                                                                                               11669.05      968.82   $    10,700.23




                                                                           EXHIBIT

                                                                            Part 7 #41
                      Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 20 of 53

Debtor        Day One Distribution LLC                                                 Case number (If known) 24-31133
              Name

           Wall fixture for Glaxon products installed at
           various GNC locations. No value as they are
           custom wall displays.                                              $835,841.00                                                $0.00




51.        Total of Part 8.                                                                                                    $58,436.17
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                        Net book value of       Valuation method used      Current value of
                                                                      debtor's interest       for current value          debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           Glaxon license agreement includes usage and
           maintenance of www.Glaxon.com                                             $0.00                                          Unknown



62.        Licenses, franchises, and royalties
           Trademark License with Zero Day Nutrition
           Company for various trademarks and all
           goodwill associated with them.
           Executed 1/1/21 and good for 5 years, then
           automatically renews for 5 years.                                         $0.00                                          Unknown



63.        Customer lists, mailing lists, or other compilations
           Customer List.                                                            $0.00                                          Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                           $0.00
           Add lines 60 through 65. Copy the total to line 89.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                    page 4
                     Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 21 of 53

Debtor        Day One Distribution LLC                                                     Case number (If known) 24-31133
              Name

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Amazon reserve account (for chargebacks and other
           charges) ($11,952.63);
           Intuit Merchant Acccount #1170
           Authorize.net #2817
           PayArc #0922
           Amazon (Glaxon Account) #FHX6
           Shopify (Glaxon.com) - no balance, pass through only                                                                        $11,952.63




78.        Total of Part 11.                                                                                                         $11,952.63
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 5
                         Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 22 of 53

Debtor          Day One Distribution LLC                                                                            Case number (If known) 24-31133
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $149.03

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $245,702.20

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $567,718.18

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $15,236.18

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $58,436.17

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                  $11,952.63

91. Total. Add lines 80 through 90 for each column                                                            $899,194.39           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $899,194.39




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 6
                         Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 23 of 53

Fill in this information to identify the case:

Debtor name          Day One Distribution LLC

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

Case number (if known)              24-31133
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    3PCG Inc.                                    Describe debtor's property that is subject to a lien                $114,629.40                         $0.00
       Creditor's Name                              UCC filed 12/22/23
       1019 Avenue P
       Suite 401
       Brooklyn, NY 11223
       Creditor's mailing address                   Describe the lien

                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       10/30/2023                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.
                                                     Disputed


2.2    Ampla LLC                                    Describe debtor's property that is subject to a lien                $637,620.33               $637,620.33
       Creditor's Name                              All assets (including, but not limited to, Cash,
                                                    checking accounts, inventory, A/R)
       1239 Broadway, 12th Floor                    UCC filed 09/28/22
       New York, NY 10001
       Creditor's mailing address                   Describe the lien
                                                    Uniform Commercial Code Lien
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       09/27/2022                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 6
                        Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 24 of 53

Debtor      Day One Distribution LLC                                                              Case number (if known)      24-31133
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.3   Cash Fund                                   Describe debtor's property that is subject to a lien                     $157,368.00   Unknown
      Creditor's Name                             UCC filed on 01/08/2024
      110 16th Street
      Suite 901
      Denver, CO 80202
      Creditor's mailing address                  Describe the lien
                                                  Uniform Commercial Code Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      10/06/2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.4   CT Corporation                              Describe debtor's property that is subject to a lien                           $0.00      $0.00
      Creditor's Name                             UCC filed 05/12/22
      330 N. Brand Blvd, Suite
      700
      ATTN: SPRS
      Glendale, CA 91203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.5   CT Corporation                              Describe debtor's property that is subject to a lien                           $0.00      $0.00
      Creditor's Name                             UCC filed on 01/02/2024
      330 N Brand Blvd, Suite
      700
      ATTN: SPRS
      Glendale, CA 91203
      Creditor's mailing address                  Describe the lien




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                         page 2 of 6
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Debtor      Day One Distribution LLC                                                              Case number (if known)      24-31133
            Name

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.6   Momentum BMW Mini                           Describe debtor's property that is subject to a lien                      $58,436.17   $58,436.17
      Creditor's Name                             2023 BMW 760xi, VIN #8227
                                                  $4,000 due at signing, 36 monthly payments
      9570 Southwest Freeway                      of $2,561.19
      Houston, TX 77074
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      02/09/2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5994
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.7   Ouiby Inc. dba Kickfurther                  Describe debtor's property that is subject to a lien                     $232,055.00       $0.00
      Creditor's Name                             UCC FIled on 06/08/2023
      PO Box 21584
      Boulder, CO 80308
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      05/18/2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 3 of 6
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Debtor      Day One Distribution LLC                                                              Case number (if known)      24-31133
            Name


2.8   Ouiby Inc. dba Kickfurther                  Describe debtor's property that is subject to a lien                      $44,070.00        $0.00
      Creditor's Name                             UCC filed on 06/08/2023
      PO Box 21584
      Boulder, CO 80308
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      05/26/2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.9   Ouiby Inc. dba Kickfurther                  Describe debtor's property that is subject to a lien                     $100,627.80       $0.00
      Creditor's Name                             UCC filed on 06/23/2023
      PO Box 21584
      Boulder, CO 80308
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      05/26/2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.1
0     SBA                                         Describe debtor's property that is subject to a lien                      $56,394.76   $56,394.76
      Creditor's Name                             All assets (including, but not limited to, Cash,
      1545 Hawkins Blvd                           checking accounts, inventory, A/R)
      Suite 202                                   UCC filed 09/06/20
      El Paso, TX 79925
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      08/28/2020                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 4 of 6
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Debtor      Day One Distribution LLC                                                             Case number (if known)       24-31133
            Name


      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
       No                                        Contingent
       Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative    Disputed
      priority.




                                                                                                                          $1,401,201.4
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      6

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
       3Point Capital
       2901 Clint Moore Road                                                                             Line   2.1
       #401
       Boca Raton, FL 33496

       CFS CAP LLC
       136 E. South Temple                                                                               Line   2.3
       Salt Lake City, UT 84111

       Corporation Service Company
       251 Little Falls Drive                                                                            Line   2.3
       Wilmington, DE 19808

       Corporation Service Company
       251 Little Falls Drive                                                                            Line   2.10
       Wilmington, DE 19808

       Corporation Service Company
       251 Little Falls Drive                                                                            Line   2.1
       Wilmington, DE 19808

       CT Lien Solutions
       2929 Allen Parkway                                                                                Line   2.4
       Suite 100
       Houston, TX 77019

       CT Lien Solutions
       2929 Allen Parkway                                                                                Line   2.5
       Suite 100
       Houston, TX 77019

       First Corporation Solutions as rep
       914 S Street                                                                                      Line   2.2
       Sacramento, CA 95811

       First Corporation Solutions as rep
       914 S Street                                                                                      Line   2.7
       Sacramento, CA 95811

       First Corporation Solutions as rep
       914 S Street                                                                                      Line   2.8
       Sacramento, CA 95811



Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 5 of 6
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Debtor    Day One Distribution LLC                                            Case number (if known)   24-31133
          Name

      First Corporation Solutions as rep
      914 S Street                                                                    Line   2.9
      Sacramento, CA 95811




Official Form 206D         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property           page 6 of 6
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Fill in this information to identify the case:

Debtor name        Day One Distribution LLC

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF TEXAS

Case number (if known)          24-31133
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Amy Maher                                           Check all that apply.
          12502 Exchange Dr #448                               Contingent
          Stafford, TX 77477                                   Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Prepetition wage claim of $2,306.16 - Paid per
          03/06/24 - 03/12/24, payroll 03/15/24               Court Order (see docket #21)
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          AVICKACI LLC                                        Check all that apply.
          12502 Exchange Dr #448                               Contingent
          Stafford, TX 77477                                   Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Prepetition wage claim of $3,763.47 - Paid per
          03/06/24 - 03/12/24, payroll 03/15/24               Court Order (see docket #21)
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 7
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Debtor       Day One Distribution LLC                                                                   Case number (if known)          24-31133
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Benjamin D Arden                                     Check all that apply.
          12502 Exchange Dr #448                                Contingent
          Stafford, TX 77477                                    Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Prepetition wage claim of $552.89 - Paid per
          03/06/24 - 03/12/24, payroll 03/15/24                Court Order (see docket #21)
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes

2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Blair M Rodgers                                      Check all that apply.
          12502 Exchange Dr #448                                Contingent
          Stafford, TX 77477                                    Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Prepetition wage claim of $1,287.50 - Paid per
          03/06/24 - 03/12/24, payroll 03/15/24                Court Order (see docket #21)
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes

2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Zachary S Flannery                                   Check all that apply.
          12502 Exchange Dr #448                                Contingent
          Stafford, TX 77477                                    Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               Prepetition wage claim of $1,788.47 - Paid per
          03/06/24 - 03/12/24, payroll 03/15/24                Court Order (see docket #21)
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $7,356.09
          AFCO Credit / USI                                                   Contingent
          900 S Capital of Teaxas Highway                                     Unliquidated
          Suite 450                                                           Disputed
          Austin, TX 78746
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 7
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Debtor      Day One Distribution LLC                                                        Case number (if known)            24-31133
            Name

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $878.69
         Amazon Business                                            Contingent
         440 Terry Ave N                                            Unliquidated
         Seattle, WA 98109                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $44,669.44
         American Express                                           Contingent
         PO Box 981537                                              Unliquidated
         El Paso, TX 79998                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,152.75
         BMW Financial                                              Contingent
         PO Box 78103                                               Unliquidated
         Phoenix, AZ 85062-8103                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $333.47
         Comcast                                                    Contingent
         PO Box 60533                                               Unliquidated
         City of Industry, CA 91716-0533                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $23,881.67
         Consolidated Label Co                                      Contingent
         2001 E. Lake Mary Blvd.                                    Unliquidated
         Sanford, FL 32773                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $8,356.33
         Container and Packaging                                    Contingent
         1345 E State Street Eagle                                  Unliquidated
         Eagle, ID 83616                                            Disputed
         Date(s) debt was incurred 12/05/23
                                                                   Basis for the claim: Containers
         Last 4 digits of account number 1629
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $50,257.00
         Foley & Lardner LLP                                        Contingent
         1000 Louisiana Street                                      Unliquidated
         Suite 2000                                                 Disputed
         Houston, TX 77002
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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Debtor      Day One Distribution LLC                                                        Case number (if known)            24-31133
            Name

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         GNC Holdings LLC                                           Contingent
         300 Sixth Avenue                                           Unliquidated
         Pittsburgh, PA 15222
                                                                    Disputed
         Date(s) debt was incurred 11/11/2020
                                                                   Basis for the claim:
         Last 4 digits of account number 9069
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $20,000.00
         High Impact Analytics                                      Contingent
         5208 Village Parkway #1                                    Unliquidated
         Rogers, AR 72758                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $9,051.78
         Kintsugi Digital                                           Contingent
         5049 Edwards Ranch Road                                    Unliquidated
         Floor 4                                                    Disputed
         Fort Worth, TX 76109
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         LG Funding                                                 Contingent
         1218 Union Street                                          Unliquidated
         Brooklyn, NY 11225                                         Disputed
         Date(s) debt was incurred 07/13/2022
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         LG Funding                                                 Contingent
         1218 Union Street                                          Unliquidated
         Brooklyn, NY 11225                                         Disputed
         Date(s) debt was incurred 08/30/2023
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $57,000.00
         Lisa Marks Association Inc. (PEZ)                          Contingent
         181 Westchester Ave                                        Unliquidated
         Suite 304-H
                                                                    Disputed
         Port Chester, NY 10573
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,655.00
         Melton & Melton LLP                                        Contingent
         6002 Rogerdale Road                                        Unliquidated
         Suite 200                                                  Disputed
         Houston, TX 77072
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 4 of 7
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Debtor      Day One Distribution LLC                                                        Case number (if known)            24-31133
            Name

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $47,000.00
         Michael Bischoff                                           Contingent
         12502 Exchange Dr #448                                     Unliquidated
         Stafford, TX 77477                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $81,639.14
         Mill Haven Foods                                           Contingent
         211 Leer Street                                            Unliquidated
         New Lisbon, WI 53950-0132                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $18,281.02
         Nexus Brand Group                                          Contingent
         721 N. Eckhoff St.                                         Unliquidated
         Orange, CA 92868                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,000.00
         Price Plow                                                 Contingent
         100 Comms Road                                             Unliquidated
         Suite 7 #199                                               Disputed
         Dripping Springs, TX 78620
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $15,550.04
         Priority 1 Inc.                                            Contingent
         10100 North Central Expressway                             Unliquidated
         Suite 380                                                  Disputed
         Dallas, TX 75231
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,000.00
         Scott William Crawford                                     Contingent
         315 Canyon Springs Dr.                                     Unliquidated
         Allen, TX 75002                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $55,100.00
         Shareholder Solutions LLC                                  Contingent
         12502 Exchange, Suite 448                                  Unliquidated
         Stafford, TX 77477                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 5 of 7
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Debtor      Day One Distribution LLC                                                        Case number (if known)            24-31133
            Name

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $10,542.14
         Smartshake AB                                              Contingent
         J rnmalmsgatan 2, 721 32                                   Unliquidated
         V ster s, Sweden                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,838.39
         St. Denis Companies                                        Contingent
         2452 W. Birchwood Ave.                                     Unliquidated
         Suite 114                                                  Disputed
         Mesa, AZ 85202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $29,878.50
         Veracity Insurance Solutions LLC                           Contingent
         260 South 2500 West                                        Unliquidated
         Suite 303                                                  Disputed
         Pleasant Grove, UT 84062
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $496.46
         Waste Management                                           Contingent
         800 Capitol Street                                         Unliquidated
         Suite 3000                                                 Disputed
         Houston, TX 77002
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 3009                      Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,477.49
         Waste Management                                           Contingent
         800 Capitol Street                                         Unliquidated
         Suite 3000                                                 Disputed
         Houston, TX 77002
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 3003                      Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $42,183.96
         Worldwide Express                                          Contingent
         2700 Commerce Street                                       Unliquidated
         Suite 1500                                                 Disputed
         Dallas, TX 75226
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 7717                      Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $495.00
         Worldwide Express                                          Contingent
         2700 Commerce Street                                       Unliquidated
         Suite 1500                                                 Disputed
         Dallas, TX 75226
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 8114                      Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 6 of 7
                        Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 35 of 53

Debtor       Day One Distribution LLC                                                               Case number (if known)            24-31133
             Name

3.30      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $181,030.20
          Zero Day Nutrition Company                                        Contingent
          12502 Exchange Drive                                              Unliquidated
          Suite 448                                                         Disputed
          Stafford, TX 77477
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.31      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $60,310.00
          Zero Day Nutrition Company                                        Contingent
          12502 Exchange Drive                                              Unliquidated
          Suite 448                                                         Disputed
          Stafford, TX 77477
                                                                           Basis for the claim: Inventory purchases
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.    +   $                       792,414.56

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          792,414.56




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 7
                      Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 36 of 53

Fill in this information to identify the case:

Debtor name        Day One Distribution LLC

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)      24-31133
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Business Solutions
             lease is for and the nature of       Agreement
             the debtor's interest                Fulfill by Amazon (FBA)

                State the term remaining                                            Amazon Business
                                                                                    CSC 300 Deschutes Way SW
             List the contract number of any                                        Suite 208 MC-CSC1
                   government contract                                              Olympia, WA 98501


2.2.         State what the contract or           Purchasing Agreement
             lease is for and the nature of       signed 11/11/2020 /
             the debtor's interest                Amended with
                                                  Purchasing Agreement
                                                  #CW9069 Addendum1
                                                  dated 3/4/21 / Amended
                                                  with Purchasing
                                                  Agreement #CW9069
                                                  Addendum2 effective
                                                  12/21/21
                State the term remaining          Through 12/21/24 and
                                                  then automatically
                                                  renews annually                   GNC Holdings LLC
             List the contract number of any                                        300 Sixth Avenue
                   government contract                                              Pittsburgh, PA 15222


2.3.         State what the contract or           Warrant Purchase
             lease is for and the nature of       Agreement signed
             the debtor's interest                12/2021

                State the term remaining          36 month
                                                                                    GNC Holdings LLC
             List the contract number of any                                        300 Sixth Avenue
                   government contract                                              Pittsburgh, PA 15222




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
                       Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 37 of 53
Debtor 1 Day One Distribution LLC                                                 Case number (if known)   24-31133
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.4.      State what the contract or        2023 BMW 760xi, VIN
          lease is for and the nature of    #8227
          the debtor's interest             $4,000 due at signing,
                                            36 monthly payments
                                            of $2,561.19
             State the term remaining
                                                                          Momentum BMW Mini
          List the contract number of any                                 9570 Southwest Freeway
                government contract                                       Houston, TX 77074


2.5.      State what the contract or        Non-Binding Term
          lease is for and the nature of    Sheet for Purchase of
          the debtor's interest             Equity Interests of Day
                                            One Distribution, LLC
                                            dated 07/20/23
             State the term remaining                                     Sam Strange
                                                                          Green Zoom LLC
          List the contract number of any                                 1111 E Sunrise Blvd #407
                government contract                                       Fort Lauderdale, FL 33304


2.6.      State what the contract or        Plus Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining       12 month term, renews         Shopify
                                            monthly                       151 O'Connor Street
          List the contract number of any                                 Ground Floor
                government contract                                       Ottawa, ON K2P 2L8




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 2 of 2
                   Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 38 of 53

Fill in this information to identify the case:

Debtor name      Day One Distribution LLC

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

Case number (if known)   24-31133
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    A1A Distribution            12502 Exchange Dr #448                                   CT Corporation                  D       2.4
          LLC                         Stafford, TX 77477                                                                        E/F
                                                                                                                               G



   2.2    Michael Bischoff            12502 Exchange Dr. #448                                  Momentum BMW                    D       2.6
                                      Stafford, TX 77477                                       Mini                             E/F
                                                                                                                               G



   2.3    Michael Bischoff            12502 Exchange Dr. #448                                  Ampla LLC                       D       2.2
                                      Stafford, TX 77477                                                                        E/F
                                                                                                                               G



   2.4    Michael Bischoff            12502 Exchange Dr. #448                                  3PCG Inc.                       D       2.1
                                      Stafford, TX 77477                                                                        E/F
                                                                                                                               G



   2.5    Michael Bischoff            12502 Exchange Dr. #448                                  Cash Fund                       D       2.3
                                      Stafford, TX 77477                                                                        E/F
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 3
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Debtor    Day One Distribution LLC                                                Case number (if known)   24-31133


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Michael Bischoff         12502 Exchange Dr. #448                             LG Funding                     D
                                   Stafford, TX 77477                                                                  E/F    3.12
                                                                                                                      G



  2.7     Michael Bischoff         12502 Exchange Dr. #448                             LG Funding                     D
                                   Stafford, TX 77477                                                                  E/F    3.13
                                                                                                                      G



  2.8     Standard                 12502 Exchange Dr #448                              CT Corporation                 D      2.4
          Supplement               Stafford, TX 77477                                                                  E/F
          Supply, LLC
                                                                                                                      G



  2.9     Zero Day                 12502 Exchange Dr. #448                             CT Corporation                 D      2.5
          Nutrition                Stafford, TX 77477                                                                  E/F
          Company
                                                                                                                      G



  2.10    Zero Day                 12502 Exchange Dr. #448                             CT Corporation                 D      2.4
          Nutrition                Stafford, TX 77477                                                                  E/F
          Company
                                                                                                                      G



  2.11    Zero Day                 12502 Exchange Dr. #448                             LG Funding                     D
          Nutrition                Stafford, TX 77477                                                                  E/F    3.12
          Company
                                                                                                                      G



  2.12    Zero Day                 12502 Exchange Dr. #448                             LG Funding                     D
          Nutrition                Stafford, TX 77477                                                                  E/F    3.13
          Company
                                                                                                                      G



  2.13    Michael Bischoff         12502 Exchange Dr. #448                             Momentum BMW                   D
                                   Stafford, TX 77477                                  Mini                            E/F
                                                                                                                      G      2.4




Official Form 206H                                              Schedule H: Your Codebtors                                     Page 2 of 3
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Debtor    Day One Distribution LLC                                                Case number (if known)   24-31133


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 3 of 3
                      Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 41 of 53




Fill in this information to identify the case:

Debtor name         Day One Distribution LLC

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS

Case number (if known)    24-31133
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $524,403.92
      From 1/01/2024 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $7,737,163.14
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For year before that:                                                            Operating a business                              $3,895,588.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
                     Case 24-31133 Document 68 Filed in TXSB on 04/12/24 Page 42 of 53
Debtor       Day One Distribution LLC                                                           Case number (if known) 24-31133



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             SEE ATTACHED EXHIBIT "SOFA #3"                                                         $58,362.41            Secured debt
                                                                                                                          Unsecured loan repayments
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   SEE ATTACHED EXHIBIT "SOFA #4"                                                      $9,038,698.68


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken
      Triton Recovery LLC                              Letter sent to Intuit on 02/29/24                               Letter sent to            $17,714.50
      3111 N. University Drive                         Last 4 digits of account number: 1125                           Intuit on
      Suite 604                                                                                                        02/29/24
      Pompano Beach, FL 33065

      Triton Recovery LLC                              Letter sent to Intuit on 02/29/24                               Letter sent to            $37,331.40
      3111 N. University Drive                         Last 4 digits of account number: 1125                           Intuit on
      Suite 604                                                                                                        02/29/24
      Pompano Beach, FL 33065


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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Vendor                                          Type                      Num       Date              Amount
3 Point Capital Group (Auto)                    Bill Pmt -Check           ACH                1/9/2024 $     5,000.00
3 Point Capital Group (Auto)                    Bill Pmt -Check           ACH                1/8/2024 $     5,000.00
3 Point Capital Group (Auto)                    Bill Pmt -Check           ACH                1/4/2024 $     5,000.00
ADP (Payroll)                                   10112 · Amegy Operating Account              3/8/2024 $        55.97
ADP (Payroll)                                   10112 · Amegy Operating Account              3/5/2024 $    13,641.02
ADP (Payroll)                                   10112 · Amegy Operating Account              3/1/2024 $       135.36
ADP (Payroll)                                   10112 · Amegy Operating Account             2/23/2024 $        53.25
ADP (Payroll)                                   10112 · Amegy Operating Account             2/23/2024 $        54.58
ADP (Payroll)                                   10112 · Amegy Operating Account             2/16/2024 $        73.67
ADP (Payroll)                                   10112 · Amegy Operating Account             2/14/2024 $         5.53
ADP (Payroll)                                   10112 · Amegy Operating Account              2/9/2024 $        59.91
ADP (Payroll)                                   10112 · Amegy Operating Account              2/2/2024 $        54.58
ADP (Payroll)                                   10112 · Amegy Operating Account             1/31/2024 $       210.68
ADP (Payroll)                                   10112 · Amegy Operating Account             1/26/2024 $        54.58
ADP (Payroll)                                   10112 · Amegy Operating Account             1/26/2024 $        53.25
ADP (Payroll)                                   10112 · Amegy Operating Account             1/19/2024 $        19.09
ADP (Payroll)                                   10112 · Amegy Operating Account             1/19/2024 $        54.58
ADP (Payroll)                                   10112 · Amegy Operating Account             1/12/2024 $        56.54
ADP (Payroll)                                   10112 · Amegy Operating Account              1/5/2024 $        61.87
ADP (Payroll)                                   10112 · Amegy Operating Account            12/29/2023 $        54.58
ADP (Payroll)                                   10112 · Amegy Operating Account            12/29/2023 $        53.25
ADP (Payroll)                                   10112 · Amegy Operating Account            12/22/2023 $        75.63
ADP (Payroll)                                   10112 · Amegy Operating Account            12/18/2023 $        58.49
Haselden Farrow                                 10112 · Amegy Operating Account             3/12/2024 $     5,000.00
Haselden Farrow                                 10112 · Amegy Operating Account             3/12/2024 $     8,476.00
Haselden Farrow                                 10112 · Amegy Operating Account             3/11/2024 $    15,000.00




                                                               EXHIBIT

                                                                SOFA 3
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DOD Insider Payments
Insider              Type              Num       Date       Amount
Shareholder SolutionsCheck                       11/22/2023 $    1,500.00
Great Zoom           Bill Pmt -Check   ACH        2/12/2024 $    3,000.00
Great Zoom           Bill Pmt -Check   ACH         2/2/2024 $    5,000.00
Great Zoom           Bill Pmt -Check   ACH        1/29/2024 $    3,000.00
Great Zoom           Bill Pmt -Check   ACH        1/29/2024 $    2,000.00
Great Zoom           Bill Pmt -Check   ACH         1/5/2024 $    5,000.00
Great Zoom           Bill Pmt -Check   ACH        8/16/2023 $    8,000.00
Great Zoom           Bill Pmt -Check   ACH        7/24/2023 $   10,000.00
Zero Day             Check             WIRE       2/22/2024 $    2,000.00
Zero Day             Check             WIRE        2/9/2024 $    5,000.00
Zero Day             Check             WIRE        2/9/2024 $   20,000.00
Zero Day             Check             WIRE       1/19/2024 $   10,000.00
Zero Day             Check             WIRE       1/11/2024 $   10,000.00
Zero Day             Check             WIRE        1/4/2024 $    4,000.00
Zero Day             General Journal    12312023 12/31/2023 $   73,940.98
Zero Day             Check             WIRE      12/21/2023 $   30,200.00
Zero Day             Check             WIRE      12/11/2023 $    5,000.00
Zero Day             General Journal   11302023R 12/1/2023 $    36,503.36
Zero Day             Check             WIRE      11/28/2023 $    5,000.00
Zero Day             Check             WIRE      11/13/2023 $    1,000.00
Zero Day             Check             WIRE      11/13/2023 $      100.00
Zero Day             Check             WIRE      11/10/2023 $   10,000.00
Zero Day             Check             WIRE       11/7/2023 $   55,000.00
Zero Day             Check             WIRE       11/6/2023 $   20,000.00
Zero Day             General Journal   10312023R 11/1/2023 $    58,655.41
Zero Day             Check             WIRE      10/30/2023 $   50,000.00
Zero Day             Check             WIRE      10/27/2023 $   15,000.00
Zero Day             Check             WIRE      10/23/2023 $   20,000.00
Zero Day             Check             WIRE      10/18/2023 $   50,000.00
Zero Day             Check             WIRE       10/3/2023 $   20,000.00
Zero Day             Check             WIRE       10/3/2023 $ 100,000.00
Zero Day             General Journal   09302023R 10/1/2023 $ 252,620.29
Zero Day             Check             WIRE       9/15/2023 $ 150,000.00
Zero Day             General Journal   08312023R   9/1/2023 $ 631,005.28
Zero Day             Check             WIRE       8/15/2023 $   50,000.00
Zero Day             Check             WIRE       8/14/2023 $   80,000.00
Zero Day             Check             WIRE        8/8/2023 $ 200,000.00
Zero Day             Check             WIRE        8/1/2023 $ 200,000.00
Zero Day             General Journal   07312023R   8/1/2023 $ 638,750.61
Zero Day             Check             WIRE       7/24/2023 $   70,000.00


                                             EXHIBIT

                                             SOFA #4
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Zero Day             Check             WIRE          7/21/2023 $    60,000.00
Zero Day             Check             WIRE          7/13/2023 $ 220,000.00
Zero Day             General Journal   06302023R      7/1/2023 $ 984,326.64
Zero Day             General Journal   05312023R      6/1/2023 $ 1,193,484.31
Zero Day             Check             WIRE          5/31/2023 $ 195,000.00
Zero Day             Check             WIRE          5/25/2023 $    15,000.00
Zero Day             Check             WIRE          5/25/2023 $    19,000.00
Zero Day             Check             WIRE          5/23/2023 $    42,000.00
Zero Day             Check             WIRE          5/22/2023 $    42,000.00
Zero Day             General Journal   04302023R      5/1/2023 $ 1,278,580.93
Zero Day             Check             WIRE          4/18/2023 $ 170,000.00
Zero Day             Check             WIRE           4/7/2023 $    50,000.00
Zero Day             General Journal   03312023R      4/1/2023 $ 1,603,066.20
Zero Day             Check             WIRE          3/24/2023 $    20,000.00
Zero Day             Check             WIRE          3/16/2023 $ 200,000.00
Michale Bischoff     Bill Pmt -Check   ACH           1/22/2024 $       500.00
Michale Bischoff     Bill Pmt -Check   ACH          11/22/2023 $     2,000.00
Shareholder SolutionsDirect Deposit    Payroll      11/10/2023 $     1,442.31
Shareholder SolutionsDirect Deposit    Payroll       11/3/2023 $     1,442.31
Shareholder SolutionsDirect Deposit    Payroll      10/27/2023 $     1,442.31
Shareholder SolutionsDirect Deposit    Payroll      10/20/2023 $     1,442.31
Shareholder SolutionsDirect Deposit    Payroll      10/13/2024 $     1,442.31
Shareholder SolutionsDirect Deposit    Payroll       10/6/2023 $     1,442.31
Great Zoom           Direct Deposit    Payroll       11/3/2023 $     2,884.62
Great Zoom           Direct Deposit    Payroll      10/27/2023 $     2,884.62
Great Zoom           Direct Deposit    Payroll      10/20/2023 $     2,884.62
Great Zoom           Direct Deposit    Payroll      10/13/2024 $     2,884.62
Great Zoom           Direct Deposit    Payroll       10/6/2023 $     2,884.62
Michale Bischoff     Direct Deposit    Payroll      11/10/2023 $     1,231.28
Michale Bischoff     Direct Deposit    Payroll       11/3/2023 $     1,231.29
Michale Bischoff     Direct Deposit    Payroll      10/27/2023 $     1,231.29
Michale Bischoff     Direct Deposit    Payroll      10/20/2023 $     1,231.27
Michale Bischoff     Direct Deposit    Payroll      10/13/2024 $     1,231.29
Michale Bischoff     Direct Deposit    Payroll       10/6/2023 $     1,231.29
Shareholder SolutionsOnline Transfer   Consultanting 1/22/2024
                                                     Fees      $       500.00
Shareholder SolutionsOnline Transfer   Consultanting11/22/2023
                                                     Fees      $     1,500.00
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Debtor       Day One Distribution LLC                                                          Case number (if known) 24-31133



             Case title                               Nature of case              Court or agency's name and              Status of case
             Case number                                                          address
      7.1.   Jasmine Gamez v. Zero Day                Class Action                US District Court                        Pending
             Nutrition Company, et al                 Complaint, .                Central District of California           On appeal
             EDCV 22-1655 JCB                         Violation of
                                                      California Unfair
                                                                                                                           Concluded
                                                      Competition law,
                                                      and other charges

                                                      2. This was
                                                      dismissed.




8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value

      9.1.   Live Well Foundation                     Donation
                                                                                                                9/14/22                        $5,000.00

             Recipients relationship to debtor
             None


      9.2.   The Brenda & John H.                     Donation
             Guncan Rise School
                                                                                                                2/1/23                         $5,000.00

             Recipients relationship to debtor
             None


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
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      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.                                                                                                           2/12/24 -
                                                                                                                      $10,000
                                                                                                                      (from Zero
                                                                                                                      Day
                                                                                                                      Nutrition)
                                                                                                                      3/11/24 -
                                                                                                                      $15.000
                                                                                                                      (from Day
                                                                                                                      One
                                                                                                                      Distribution
                                                                                                                      )
                                                                                                                      3/12/24 -
                                                                                                                      $15,000
                                                                                                                      (from Zero
                                                        Debtors collectively paid $50,000.00, plus                    Day
                                                        $3,476.00 for filing fees, to HF prior to                     Nutrition)
                                                        bankruptcy filing on dates listed below.                      3/12/24 -
                                                        On March 12, 2024, HF applied $25,530.00,                     $13,476
               Haselden Farrow PLLC                     plus $3,476.00, to prepetition invoices and                   (from Day
               700 Milam                                expenses, including filing fees, leaving a                    One
               Suite 1300                               post petition retainer of $24,470.00 for                      Distribution
               Houston, TX 77002                        these jointly administered cases.                             )                      $534,760.00

               Email or website address
               www.HaseldenFarrow.com

               Who made the payment, if not debtor?
               Debtor and Zero Day Nutrition
               (co-debtor)



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                           Describe any property transferred                    Dates transfers             Total amount or
                                                                                                             were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
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    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
             Who received transfer?                    Description of property transferred or                    Date transfer               Total amount or
             Address                                   payments received or debts paid in exchange               was made                             value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      No.
          Yes. State the nature of the information collected and retained.

                Billing details for bank and credit card information, shipping address
                details. Stored in shipping application and QuickBooks.
                Does the debtor have a privacy policy about that information?
                 No
                 Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and           Last 4 digits of           Type of account or          Date account was                  Last balance
               Address                                  account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Hartford Casualty Ins Co



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Melton & Melton LLP



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Melton & Melton LLP


      26c.2.        Aspen American Ins Co


      26c.3.        Stewart Nixon
                    12502 Exchange Dr. #448
                    Stafford, TX 77477



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      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.4.        Michael Bischoff
                    12502 Exchange Dr #448
                    Stafford, TX 77477

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.        Ampla LLC


      26d.2.        Ouiby Inc. dba Kickfurther



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Zero Day Nutrition                      12502 Exchange Drive                                General partner                           91
      Company                                 Suite 448
                                              Stafford, TX 77477
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Samuel Strange                          12502 Exchange Dr. Suite 448                        President of Great Zoom, LLC              9
                                              Stafford, TX 77477



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                                    Address                                             Position and nature of any           Period during which
                                                                                                  interest                             position or interest
                                                                                                                                       was held
      Sam Strange                             1111 E Sunrise Blvd #407                                                                 09/01/19 - 07/20/23
                                              Fort Lauderdale, FL 33304


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.


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             Name and address of recipient             Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.1 SEE EXHIBIT "SOFA #4"
      .

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 11, 2024
    Michael Bischoff with permission by /s/ Melissa A. Haselden
                                                                Michael Bischoff
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    CEO of Zero Day Nutrition Company,
                                      Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                      United States Bankruptcy Court
                                                               Southern District of Texas
 In re    Day One Distribution LLC                                                                                Case No.       24-31133
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Green Zoom LLC/ Sam Strange                                                       9%                                         Membership Interest
2499 24th S
#108
Arlington, VA 22206

Zero Day Nutrition Company                                                        91%                                        Membership Interest
12502 Exchange Drive
Suite 448
Stafford, TX 77477


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

         I, the CEO of Zero Day Nutrition Company, Managing Member of the corporation named as the debtor in this case,
declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and
correct to the best of my information and belief.


                                                                                                Michael Bischoff with permission by /s/ Melissa A. Haselden
Date April 11, 2024                                                      Signature
                                                                                        Michael Bischoff

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
